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                                                                                                   E-FILED
                                                               Wednesday, 06 September, 2017 10:17:35 AM
                                                                              Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

STEVEN D. LISLE, JR.,                                         )
                                                              )
                      Plaintiff,                              )
                                                              )         Case No. 17-CV-1158
       vs.                                                    )
                                                              )              JURY DEMAND
JOHN BALDWIN, et al.,                                         )
                                                              )
                      Defendant.                              )

                          ANSWER AND AFFIRMATIVE DEFENSES

       NOW COMES Defendant, JOHN BALDWIN, by and through his attorney, LISA

MADIGAN, Illinois Attorney General, and pursuant to the Court’s Merit Review Order of July

12, 2017 [Doc. 24], provides the following Answer and Affirmative Defenses to Plaintiff’s

Amended Complaint, [Doc. 25], stating as follows:

   ALLEGATIONS ENUMERATED IN COURT ORDER DATED JULY 12, 2017 [DOC. 24]

   1. Pursuant to its merit review of the Plaintiff’s Amended Complaint under 28 U.S.C. §

1915(A), the Court found that Plaintiff stated an Eighth Amendment claim for deliberate

indifference to his serious medical needs against Defendant, JOHN BALDWIN, in his official

capacity.

   2. ANSWER: Defendant admits that the complaint states a claim under 42 U. S. C. § 1983,

but denies that any violation of Plaintiff's Eighth Amendment rights or any other constitutional

rights occurred.

                                      REQUESTED RELIEF

       1. Defendant denies that Plaintiff is entitled to compensatory damages.

       2. Defendant denies that Plaintiff is entitled to punitive damages.

       3. Defendant denies that Plaintiff is entitled to any other relief.
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                                          JURY DEMAND

        Defendants respectfully request trial by jury.

                                     AFFIRMATIVE DEFENSES

        1.      At all times relevant herein, Defendant acted in good faith in the performance of

his official duties and without violating Plaintiff’s clearly established statutory or constitutional

rights of which a reasonable person would have known. Defendant is therefore protected from

suit by the doctrine of qualified immunity.

        2.      To the extent that Plaintiff is suing Defendant for injunctive relief that is not

intended to address ongoing constitutional violations, the Eleventh Amendment and the

doctrine of sovereign immunity bar such claims.

        3.      To the extent that Plaintiff is suing Defendant for actions of a subordinate in

which Defendant was not directly involved, such claims are barred because the doctrine of

respondeat superior is not a basis for liability under 42 U.S.C. § 1983. See Gentry v. Duckworth, 65

F.3d 555, 561 (7th Cir. 1995).

        4.      To the extent Plaintiff seeks damages from Defendant in his official capacity,

Defendant is protected from liability by the Eleventh Amendment.

        5.      To the extent Plaintiff has failed to adhere to the Illinois Department of

Corrections grievance procedures, his claim should be barred for failure to exhaust his

administrative remedies prior to the initiation of this cause of action, which serves as a bar to

Plaintiff’s claims by the Prison Litigation Reform Act (42 U.S.C. § 1997) and Perez v. Wisconsin

Dept. of Corrections, 182 F. 3ed 532 (7th Cir. 1999).

        6.      To the extent Plaintiff’s claim is more than two years old, it are barred by the

applicable statute of limitations.




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       WHEREFORE, Defendant requests that this Honorable Court enter judgment in his

favor and against Plaintiff, STEVEN D. LISLE, JR.

 Dated: September 6, 2017                     Respectfully submitted,

 Lisa Madigan
 Attorney General of the State of Illinois    By:   s/ Alan Remy Taborga
 Counsel for Defendant,                             Alan Remy Taborga
 JOHN BALDWIN                                       Assistant Attorney General
                                                    Office of the Illinois Attorney General
                                                    1776 East Washington Street
                                                    Urbana, Illinois 61802
                                                    Phone: (217) 278-3332
                                                    E-Mail: ATaborga@atg.state.il.us




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS


STEVEN D. LISLE, JR.,                                            )
                                                                 )
                      Plaintiff,                                 )
                                                                 )          Case No. 17-CV-1158
       vs.                                                       )
                                                                 )
JOHN BALDWIN, et al.,                                            )
                                                                 )
                      Defendant.                                 )

       I hereby certify that on September 6, 2017, I electronically filed the foregoing, Answer

and Affirmative Defenses to Plaintiff’s Amended Complaint, with the Clerk of Court using the

CM/ECF system, and I hereby certify that on that same date, I caused a copy of same to be

mailed by United States Postal Service, in an envelope fully prepaid and properly addressed, to

the following participant:

                               Steven D. Lisle, Jr., # R-40159
                               Pontiac Correctional Center
                               P.O. Box 99
                               Pontiac, IL 61764



                                                         Respectfully submitted,

                                                         By:         s/ Alan Remy Taborga
                                                                     Alan Remy Taborga
                                                                     Assistant Attorney General
                                                                     Office of the Illinois Attorney General
                                                                     1776 East Washington Street
                                                                     Urbana, Illinois 61802
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